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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


   IN RE AUTOMOTIVE PARTS                          :   Master File No. 12-md-02311
   ANTITRUST LITIGATION                            :   Honorable Marianne O. Battani
                                                   :
   In Re: Wire Harness                             :   Case No. 2:12-cv-00102
   In Re: Instrument Panel Clusters                :   Case No. 2:12-cv-00202
   In Re: Fuel Senders                             :   Case No. 2:12-cv-00302
   In Re: Heater Control Panels                    :   Case No. 2:12-cv-00402
   In Re: Bearings                                 :   Case No. 2:12-cv-00502
   In Re: Alternators                              :   Case No. 2:13-cv-00702
   In Re: Anti Vibrational Rubber Parts            :   Case No. 2:13-cv-00803
   In Re: Windshield Wiper Systems                 :   Case No. 2:13-cv-00902
   In Re: Radiators                                :   Case No. 2:13-cv-01002
   In Re: Starters                                 :   Case No. 2:13-cv-01102
   In Re: Ignition Coils                           :   Case No. 2:13-cv-01402
   In Re: Motor Generators                         :   Case No. 2:13-cv-01502
   In Re: HID Ballasts                             :   Case No. 2:13-cv-01702
   In Re: Inverters                                :   Case No. 2:13-cv-01802
   In Re: Electronic Powered Steering Assemblies   :   Case No. 2:13-cv-01902
   In Re: Air Flow Meters                          :   Case No. 2:13-cv-02002
   In Re: Fan Motors                               :   Case No. 2:13-cv-02102
   In Re: Fuel Injection Systems                   :   Case No. 2:13-cv-02202
   In Re: Power Window Motors                      :   Case No. 2:13-cv-02302
   In Re: Automatic Transmission Fluid Warmers     :   Case No. 2:13-cv-02402
   In Re: Valve Timing Control Devices             :   Case No. 2:13-cv-02502
   In Re: Electronic Throttle Bodies               :   Case No. 2:13-cv-02602
   In Re: Air Conditioning Systems                 :   Case No. 2:13-cv-02702
   In Re: Windshield Washer Systems                :   Case No. 2:13-cv-02802
   In Re: Spark Plugs                              :   Case No. 2:15-cv-03002
   In Re: Automotive Hoses                         :   Case No. 2:15-cv-12893
   In Re: Power Window Switches                    :   Case No. 2:16-cv-03902
   In Re: Ceramic Substrates                       :   Case No. 2:16-cv-12194


   THIS DOCUMENT RELATES TO
   AUTOMOBILE DEALERSHIP ACTIONS

         AUTO DEALERS’ MOTION TO AWARD FEES PLACED IN RESERVE
                  IN 2016 FOR ROUND TWO SETTLEMENTS
Case 2:12-cv-00402-MOB-MKM ECF No. 278 filed 06/08/20              PageID.8406      Page 2 of 16



         The Auto Dealer Plaintiffs hereby move the Court to award fees placed in reserve in

  2016 for Round Two Settlements in the above matters. This motion is based upon the

  argument and authority set forth in the Memorandum submitted in support of this motion

  and on the filings and argument made in support of their motion for an award of fees in 2016.

  See 2:12-cv-00102-MOB-MKM (ECF Doc. No. 514); 2:12-cv-00102-MOB-MKM (ECF Doc.

  No. 514-2); 2:12-cv-00102-MOB-MKM (ECF Doc. No. 514-3).

         The Auto Dealers do not request a hearing for this motion.

  Dated: June 8, 2020

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                             CERTIFICATE OF SERVICE

        I, Gerard V. Mantese, hereby certify that I caused a true and correct copy of AUTO
  DEALERS’ MOTION TO AWARD FEES PLACED IN RESERVE IN 2016 FOR
  ROUND TWO SETTLEMENTS to be served via e-mail upon all registered counsel of
  record via the Court’s CM/ECF system on June 8, 2020.

                                          /s/ Gerard V. Mantese
                                          Gerard V. Mantese




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


   IN RE AUTOMOTIVE PARTS                          :   Master File No. 12-md-02311
   ANTITRUST LITIGATION                            :   Honorable Marianne O. Battani
                                                   :
   In Re: Wire Harness                             :   Case No. 2:12-cv-00102
   In Re: Instrument Panel Clusters                :   Case No. 2:12-cv-00202
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   In Re: Windshield Wiper Systems                 :   Case No. 2:13-cv-00902
   In Re: Radiators                                :   Case No. 2:13-cv-01002
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   In Re: HID Ballasts                             :   Case No. 2:13-cv-01702
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   In Re: Air Flow Meters                          :   Case No. 2:13-cv-02002
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   In Re: Power Window Motors                      :   Case No. 2:13-cv-02302
   In Re: Automatic Transmission Fluid Warmers     :   Case No. 2:13-cv-02402
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   In Re: Windshield Washer Systems                :   Case No. 2:13-cv-02802
   In Re: Spark Plugs                              :   Case No. 2:15-cv-03002
   In Re: Automotive Hoses                         :   Case No. 2:15-cv-12893
   In Re: Power Window Switches                    :   Case No. 2:16-cv-03902
   In Re: Ceramic Substrates                       :   Case No. 2:16-cv-12194


   THIS DOCUMENT RELATES TO
   AUTOMOBILE DEALERSHIP ACTIONS

                  AUTO DEALERS’ MEMORANDUM IN SUPPORT OF
                   MOTION TO AWARD FEES PLACED IN RESERVE
                     IN 2016 FOR ROUND TWO SETTLEMENTS
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                            Statement of the Issues Presented

     1. Should the Court award to counsel for the Auto Dealers the attorneys’ fees held in
        reserve for the Round Two settlements since 2016?

        Answer:      Yes.




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                         Controlling or Most Appropriate Authorities


  Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188 (6th Cir. 1974)

  In re Delphi Corp. Sec., Derivative & ERISA Litig., 248 F.R.D. 483 (E.D. Mich. 2008)




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  In re Delphi Corp. Sec., Derivative & ERISA Litig., 248 F.R.D> 483 (E.D. Mich. 2008) .........ii, 4

  In re National Century Financial Enterprises, Inc. Investment Litig., 2009 WL 1473975
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  In re Packaged Ice Antitrust Litig., 08-MDL-01952, 2011 WL 6209188
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  In re Prandin Direct Purchaser Antitrust Litig., 2015 WL 1396473 (E.D. Mich. Jan. 20, 2015) ..... 4

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  In re Southeastern Milk Antitrust Litig., 2013 WL 2155387 (E.D. Tenn. May 17, 2013) ............... 4

  Kogan v. AIMCO Fox Chase, L.P., 193 F.R.D. 496 (E.D. Mich. 2000) .......................................... 4

  Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188 (6th Cir. 1974) .................................................ii, 4

  Rawlings v. Prudential-Bache Properties, Inc., 9 F.3d 513 (6th Cir. 1993).............................................. 4

  Thacker v. Chesapeake Appalachia, L.L.C. 695 F. Supp. 2d 521 (E.D. Ky. 2010) .......................... 4




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                                           Introduction

         The Auto Dealers have disbursed the initial settlement funds from the first three

  rounds of the settlements approved by the Court. They are also preparing to disburse the

  funds held in reserve for those settlements. Some dealership groups have already received

  millions of dollars from these settlements and numerous others have received hundreds of

  thousands of dollars. The Round Four settlement funds will be disbursed to eligible

  automobile dealerships in the next few months. As a result, the Auto Dealers have nearly

  completed their portion of this litigation.

         Counsel for the Auto Dealers move the Court to award money held in reserve since

  2016 for a potential attorneys’ fees award. In 2016, the Court had not decided how it would

  consider and award attorneys’ fees to class counsel when settlements were achieved. The Court

  requested briefing from the plaintiffs’ groups about how fees should be awarded as this

  litigation progressed and additional settlements were reached.

         At the November 2016 final approval hearing for the Auto Dealers’ Round Two

  settlements, the Court granted an interim fee award of 20 percent of the settlement funds,

  while it considered how it would handle future fee awards. The Court directed counsel for the

  Auto Dealers to hold in reserve the difference between the 20 percent award and the fees they

  had sought. The subsequent fee awards granted by the Court all equaled or exceeded 30

  percent. Interim Class Counsel for the Auto Dealers hereby seeks an award of the reserved 10

  percent of the Round Two settlements.




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                                           Background

         A.     The Court’s Consideration of Attorneys’ Fees in 2016.

         Following the final approval of the first groups of settlements reached by the various

  plaintiff groups, the Court requested supplemental briefing about how attorneys’ fee awards

  should be made and analyzed in this litigation. Each of the three main groups of plaintiffs

  (Direct Purchasers, Auto Dealers, and End Payors) submitted briefs, declarations, and other

  materials for the Court’s consideration. (See 2:12-md-02311-MOB-MKM (ECF Doc. No.

  1398); 2:12-md-02311-MOB-MKM (ECF Doc. No. 1399); 2:12-cv-00103-MOB-MKM (ECF

  Doc. No. 491)).

         At the November 2016 status conference, the Court heard motions for final approval

  of numerous settlements presented by the End Payors and Auto Dealers. When considering

  the requests for an award of attorneys’ fees and expenses from the settlements of the plaintiff’s

  groups, the Court indicated that it had not yet concluded what percentage it would award as

  fees and would instead award a minimum amount: “But in further consideration of this I have

  decided to do this until I make the final percentage and that is to give you 20 percent.”

  (Transcript of Status Conference, Motion Hearing, Final Approval Hearing - November 16,

  2016, p. 25) (“November 2016 transcript”).

         B.     Round Two Auto Dealer Settlements.

         In the second round of Auto Dealer settlements (“Round Two settlements”) the Court

  granted final approval to settlements totaling nearly $125 million. The notices approved by the

  Court for those settlements advised that counsel for the Auto Dealers would seek up to one-

  third (33.33 percent) of the settlement funds as attorneys’ fees. (See 2:12-cv-00102-MOB-



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  MKM (ECF Doc. No. 519-2, pp. 22-23). No class member objected to a 33.33 percent fee or

  to the terms of the settlements. (See 2:12-cv-00102-MOB-MKM (ECF Doc. No. 519-2, para.

  8); 2:12-cv-00102-MOB-MKM (ECF Doc. No. 521, para. 3).

         During the November 16, 2016 hearing on the Auto Dealers’ motion for final approval

  of the Round Two settlements, the Court granted counsel for the Auto Dealers an interim

  award of 20 percent of the settlement funds (after the deduction of notice and claim processing

  costs) and allowed the other requested fees to be placed in reserve. (See November 2016

  transcript, p. 134). The Court’s November 29, 2016 order stated:

         As the Court indicated during the hearing on this motion and at the November
         16, 2016 status conference, the Court reserves ruling on the Auto Dealers’
         request for additional fees from these settlements. The Court may, or may not,
         grant additional fees from these settlements. Interim Co-Lead Counsel for the
         Auto Dealers are authorized to hold in reserve the difference between the fees
         requested in this motion and the fees currently awarded by the Court.

  (See 2:12-cv-00102-MOB-MKM (ECF Doc. No. 523, p. 6). That fee award resulted in a

  negative multiplier of counsel for the Auto Dealer’s lodestar. Id., para. 15.1

         C.      Fee Awards Subsequent to November 2016.

         When considering motions seeking awards of attorneys’ fees since November 2016,

  the Court has consistently awarded 30 percent or more of the settlement funds after the

  deduction of notice and administration expenses. (See, e.g., 2:12-cv-00102-MOB-MKM (ECF

  Doc. No. 568, para. 9) (30 percent); 2:12-cv-00101-MOB-MKM (ECF Doc. No. 495, para.

  22) (30 percent); 2:12-cv00102-MOB-MKM (ECF Doc. No. 401, para. 11) (33 percent)).



  1 When the 20 percent fee award was added to the fees awarded in Round One settlements,
  the Auto Dealers were awarded $43,446,364.00 when their lodestar totaled $48,406,000.00.
  (November 2016 transcript, p.132). This results in a negative, or .89, multiplier of the lodestar.

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                                               Argument

  I.     The Court Should Authorize the Award of the Fees Held in Reserve Since 2016
         For the Round Two Auto Dealer Settlements.

         In 2016, the Court had not determined the amount it would award in fees for

  settlements reached by the various plaintiff groups. It subsequently awarded 30 percent or

  more in all settlements presented by the Direct Purchasers, End Payors, and Auto Dealer

  groups for final approval. Interim Co-Lead Counsel for the Auto Dealers respectfully suggest

  that the same percentage should apply to the Round Two settlements and, as a result, request

  an award allowing the reserved 10 percent of the Round Two settlements.

          During the November 2016 final approval process, the Court analyzed and weighed

   the six factors described in Ramey v. Cincinnati Enquirer, Inc., 508 F.2d 1188 (6th Cir. 1974)

   and Rawlings v. Prudential-Bache Properties, Inc., 9 F.3d 513, 516 (6th Cir. 1993). It also considered

   the briefing, billing records, and other information provided by counsel for the Auto Dealers.

   (See 2:12-cv-00102-MOB-MKM (ECF Doc. No. 523). The Court heard argument and

   recognized that fee awards of 33.33 percent were within the range of fee awards made by

   courts in this Circuit. Id. (citing In re Prandin Direct Purchaser Antitrust Litig., 2015 WL 1396473

   (E.D. Mich. Jan. 20, 2015) (awarding one-third of the fund); In re Packaged Ice Antitrust Litig.,

   08-MDL-01952, 2011 WL 6209188, at *19 (E.D. Mich. Dec. 13, 2011); In re Skelaxin

   (Metaxalone) Antitrust Litig., 2014 WL 2946459, *1 (E.D. Tenn. Jun. 30, 2014); In re Southeastern

   Milk Antitrust Litig., 2013 WL 2155387, at *8 (E.D. Tenn. May 17, 2013); Thacker v. Chesapeake

   Appalachia, L.L.C., 695 F. Supp. 2d, 521, 528 (E.D. Ky. 2010); Bessey v. Packerland Plainwell,

   Inc., No. 4:06-CV-95, 2007 WL 3173972, at *4 (W.D. Mich. 2007); In re Delphi Corp. Sec.,

   Derivative & ERISA Litig., 248 F.R.D. 483, 502-503 (E.D. Mich. 2008); In re National Century


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   Financial Enterprises, Inc. Investment Litig., 2009 WL 1473975 (S.D. Ohio, May 27, 2009); Kogan

   v. AIMCO Fox Chase, L.P., 193 F.R.D. 496, 503 (E.D. Mich. 2000)).

         Awarding to counsel for the Auto Dealers the reserved 10 percent is proper for

  numerous reasons. First, no class member objected to a request for a 33.33 percent fee:

  awarding a total of 30 percent conforms to the notice provided to the classes. Second, a 30

  percent fee for Round Two settlements would equal the awards allowed in the Round Three

  and Round Four settlements the Auto Dealers attained. Third, allowing the additional 10

  percent is consistent with the awards issued to the other plaintiff groups after November 2016.

  Finally, allowing the reserved 10 percent would move the Auto Dealers’ lodestar multiplier for

  Round Two settlements from a negative .89 to a slightly positive multiplier of approximately

  1.15. See 2:12-cv-00102-MOB-MKM (ECF Doc. No. 514); 2:12-cv-00102-MOB-MKM (ECF

  Doc. No. 514-2); 2:12-cv-00102-MOB-MKM (ECF Doc. No. 514-3).

         The Auto Dealers, with the assistance of the claim administrator, have made the initial

  payments to dealerships who submitted eligible claims in the Round Two settlements. The

  Auto Dealers have also paid the Round One and Round Three claims and are nearly ready to

  distribute the settlement funds held in reserve (pursuant to the allocation plans approved by

  the Court) for each of those three rounds. As reported during prior hearings, there has been

  a high rate of claim participation from eligible auto dealerships in each round. In fact, claim

  participation has increased in each round, which counsel for the Auto Dealers attribute to the

  excellent results achieved in this litigation.




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                                          Conclusion

          For the foregoing reasons, Interim Co-Lead Counsel for the Auto Dealers respectfully

  requests that the Court grant their motion to award the Round Two fees held in reserve since

  2016.

  Dated: June 8, 2020

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                              CERTIFICATE OF SERVICE

        I, Gerard V. Mantese, hereby certify that I caused a true and correct copy of AUTO
  DEALERS’ MEMORANDUM IN SUPPORT OF MOTION TO AWARD FEES
  PLACED IN RESERVE IN 2016 FOR ROUND TWO SETTLEMENTS to be served via
  e-mail upon all registered counsel of record via the Court’s CM/ECF system on June 8, 2020.

                                           /s/ Gerard V. Mantese
                                           Gerard V. Mantese




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